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                           UNITED STATES DISTRICT COURT      ELECTRONICALLY
                        NORTHERN DISTRICT OF WEST VIRGINIA         FILED
                                 ELKINS DIVISION                 6/17/2024
                                                           U.S. DISTRICT COURT
                                                                                Northern District of WV
MOUNTAIN VALLEY PIPELINE, LLC,
                                                                       2:24-cv-12 Kleeh
                                                      CIVIL ACTION NO. _________________
                 Plaintiff,
v.                                                    [Removal from the Circuit Court of the State
                                                      of West Virginia, Webster County, Case No.
JEROME JAMES WAGNER,                                  CC-51-2024-C-12]

                 Defendant.                           Action Filed: April 30, 2024

                                     NOTICE OF REMOVAL

TO THE CLERK OF THE ABOVE-TITLED COURT AND TO PLAINTIFF MOUNTAIN

VALLEY PIPELINE, LLC, AND ITS COUNSEL OF RECORD:


        PLEASE TAKE NOTICE THAT, reserving all rights, claims and defenses, Defendant

Jerome James Wagner removes this action from the Circuit Court of the State of West Virginia,

Webster County, Case No. CC-51-2024-C-12, to the United States District Court for the Northern

District of West Virginia pursuant to 28 U.S.C. § 1332, 28 U.S.C. § 1441, and 28 U.S.C. § 1367.

I.       Jurisdiction

        This Court has diversity jurisdiction under 28 U.S.C. § 1332(a) because the parties are

citizens of different states and because the action seeks damages in excess of $75,000.

        a. Diversity – Mr. Wagner is a citizen of North Carolina. For purposes of diversity
           jurisdiction, Mountain Valley Pipeline, LLC (“MVP”), as a limited liability company, is
           a citizen of all states in which its members are citizens, i.e., Pennsylvania, Florida, New
           York, Delaware, Virginia, Texas, and Ohio.

        b. Amount in controversy – Pursuant to 28 U.S.C. §1446(c)(2)(A)(i) and (ii), Mr. Wagner
           asserts that the amount in controversy, exceeds $75,000, exclusive of interest and costs.
           This does not appear to be in dispute.

           In its Complaint (the only document in this matter thus far served upon Mr. Wagner,
           attached as EXHIBIT A to this Notice of Removal), MVP states that it “seeks punitive
           damages in compliance with W. Va. Code § 55-7-29, in excess of the jurisdictional
           amount in controversy.” Exhibit A, ¶ 50.

           While the Complaint was filed in State court (where the jurisdictional amount for
                                            1
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             Circuit Courts jurisdiction is $7,500 (W. Va. Code §51-2-2(b)), it appears that MVP’s
             reference to “the jurisdictional amount in controversy” refers to the “$75,000 exclusive
             of interest and costs” amount set forth 28 U.S.C. § 1332(a).

             In Mountain Valley Pipeline, LLC, v. Tuhus, Case 5:23-cv-00625, Southern District of
             West Virginia, Dkt. 1, ¶ 47, MVP used nearly identical language (but not the “exclusive
             of interest and costs” language in that federal diversity lawsuit), while noting that W.
             Va. Code § 55-7-29(c) provides that “[t]he amount of punitive damages that may be
             awarded in a civil action may not exceed the greater of four times the amount of
             compensatory damages or $500,000, whichever is greater.”1

    II.    Timeliness

          This Notice of Removal is timely filed within 30 days of purported service upon Mr.

    Wagner. See EXHIBIT A, p. 1 (indicating purported service upon the Secretary of State as Mr.

    Wagner’s statutory attorney-in-fact on May 16, 2024).2



                                                                 Respectfully submitted,

                                                              JEROME JAMES WAGNER

                                                                      By Counsel

/s/William V. DePaulo
William V. DePaulo, Esq. #995
P. O. Box 1711
Lewisburg, WV 25901
Tel: 304-342-5588
Fax: 866-850-1501
william.depaulo@gmail.com




1
    Wagner does not concede that he is properly subject to damages at all.
2
  Mr. Wagner does not concede that he has been properly served at all, let alone on May 16, 2024.
Mr. Wagner expressly maintains his objection to insufficient service of process and does not intend
to waive his right to raise this objection in a motion pursuant to Fed. R. Civ. P. 12(b) by the mere
filing of this Notice. See Clark v. Wells, 203 U.S. 64, 27 S. Ct. 43, 51 L.Ed. 138 (1906).
                                                  2
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                           UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF WEST VIRGINIA
                                 ELKINS DIVISION

 MOUNTAIN VALLEY PIPELINE, LLC,
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                                                    CIVIL ACTION NO. _________________
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                 Defendant.                         Action Filed: April 30, 2024

                                 CERTIFICATE OF SERVICE

         I hereby certify that a copy of the foregoing Notice of Removal was filed electronically
with the Clerk of the Court, this 17th day of June, 2024, and thereby served on Counsel for the
Plaintiff as follows:
                               Timothy M. Miller (WVSB #2564)
                               Matthew S. Casto (WVSB #8174)
                              Robert M. Stonestreet (WVSB # 9370)
                               Jennifer J. Hicks (WVSB # 11423)
                               Austin D. Rogers (WVSB #13919)
                                   BABST CALLAND, P.C.
                                300 Summers Street, Suite 1000
                                     Charleston, WV 25301
                                    Telephone: 681.205.8888
                                    Facsimile: 681.205.8814

                                                                   /s/William V. DePaulo
                                                                     William V. DePaulo




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